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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

HALL’S IV AND INSTITUTIONAL             §
PHARMACY, INC. D/B/A                    §
XPRESS COMPOUNDING                      §
                                        §
       Plaintiff,                       §
                                        §   CIVIL ACTION NO. 4:16-CV-00019-O
v.                                      §
                                        §
PRIME THERAPEUTICS, LLC                 §
                                        §
       Defendant.                       §




                          PLAINTIFF’S MOTION FOR
                PRELIMINARY INJUNCTION AND BRIEF IN SUPPORT



                                     Respectfully submitted,

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                                     D/B/A XPRESS COMPOUNDING
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

HALL’S IV AND INSTITUTIONAL                   §
PHARMACY, INC. D/B/A                          §
XPRESS COMPOUNDING                            §
                                              §
       Plaintiff,                             §
                                              §   CIVIL ACTION NO. 4:16-CV-00019-O
v.                                            §
                                              §
PRIME THERAPEUTICS, LLC                       §
                                              §
       Defendant.                             §

              PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                           AND BRIEF IN SUPPORT

       Plaintiff Hall’s IV and Institutional Pharmacy, Inc. d/b/a Xpress Compounding (“Xpress

Compounding”) files this Motion for Preliminary Injunction (the “Motion”) to enjoin Defendant

Prime Therapeutics, LLC (“Prime”) from, inter alia, terminating Xpress Compounding from

Prime’s pharmacy provider network during the pendency of this lawsuit, and respectfully would

show the Court as follows:

                         I.      INTRODUCTION & SUMMARY

       Xpress Compounding asks the Court to enjoin Prime from taking action to exclude

Xpress Compounding from Prime’s pharmacy provider network in violation of Texas law.

Article 21.52B of the Texas Insurance Code prohibits pharmacy network operators from

excluding pharmacies that have agreed to abide by the same terms, requirements and conditions

applicable to other participating pharmacies.     Xpress Compounding has explicitly and

contractually agreed to comply with all terms and conditions governing pharmacies in Prime’s




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provider network. Prime has not asserted and cannot show that Xpress Compounding has

materially breached this agreement.

       Prime has alleged that the termination, to become effective on January 29, 2016, is

premised on so-called “poor audit performance.”            Prime is wrong.          Nothing in Xpress

Compounding’s audit history justifies termination. The sole site audit performed by Prime prior

to announcing the termination resulted in recoupment of less than twelve percent (12%) of claim

revenue represented by the prescriptions at issue in the audit period. This is not a material

breach, nor evidence of an unwillingness by Xpress Compounding to comply with generally

applicable terms and conditions. Historically, pharmacies have performed comparably or even

much worse without being subject to termination. Likewise, nothing in the desktop audits and

information requests made by Prime within the last eighteen months shows any lack of

compliance or warrants termination. Under the clear terms of article 21.52B, Prime is not

entitled to terminate Xpress Compounding “without cause,” and nothing in Xpress

Compounding’s audit history can justify termination “for cause.”

       The Texas Insurance Code also requires PBMs like Prime to explain the basis for

termination of a pharmacy provider like Xpress Compounding. PBMs are also obligated to

provide review of termination decisions by an “advisory review panel” prior to the effective date

of termination. Despite direct requests from Xpress Compounding, Prime has not complied with

either statutory requirement. Accordingly, Xpress Compounding is entitled to the declaratory

relief sought in this action and likely to prevail on the merits of these claims.

       Absent a preliminary injunction preserving Xpress Compounding’s participant status in

Prime’s provider network, both Xpress Compounding and its patients will suffer imminent and

irreparable harm. Prime’s termination is stated to take effect on January 29, 2016. If terminated,




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Xpress Compounding will lose the opportunity to serve any existing patients insured under

Prime-affiliated plans. Xpress Compounding will not just lose the revenue anticipated from

these customers. As patients are forced to undertake the unpleasant process of finding a new

pharmacy and transitioning prescriptions away from their preferred place of business—all

because of a dubious network termination—any goodwill or positive reputation that Xpress

Compounding has enjoyed with these patients until now will be irretrievably lost.        Xpress

Compounding’s reputation as a reliable provider of safe and effective compounded medications

would be sullied among patients and physicians who rely on Xpress Compounding’s

participation in Prime’s network as an indicator of quality.

       Moreover, Xpress Compounding will not only lose existing patients, it will lose

relationships with members of plans unaffiliated with Prime, as referring physicians (unable to

differentiate easily between Prime and non-Prime patients) shift their entire business to an

alternative pharmacy. As existing patients and physician referrals are lost, an undefined number

of future patients will go with them.

       In the event of a termination, individual health will also be threatened. Patients depend

upon quality compounded pharmaceuticals to fight infection, manage pain and avoid adverse

side-effects sometimes associated with conventional medications. If Prime’s patients are unable

to maintain a consistent supply of medications—particularly during the delays that often

accompany transitions from one pharmacy to another—patients may sustain infection,

experience greater pain, and suffer from side-effects and longer recovery periods, among other

complications.

       The imminent and inevitable damage either to Xpress Compounding’s reputation and

customer goodwill, on the one hand, or to the health of Prime’s patients, on the other hand,




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represents immediate and irreparable injury justifying injunctive relief. This harm is not and

cannot be outweighed by any injury claimed by Prime. Nor will an injunction disserve the

public interest. Neither Prime nor the public can be harmed by Prime’s compliance with the

Texas Insurance Code.

       Because (1) Xpress Compounding’s declaratory judgment claims have merit;

(2) immediate and irreparable harm will ensue in the absence of an injunction; (3) the harm to

Prime from an injunction in no way exceeds the anticipated harm to Xpress Compounding or its

patients; and (4) an injunction will not disserve the public interest, Xpress Compounding’s

Motion should be granted in its entirety. Due to the urgency created by the anticipated expiry of

the existing state district court’s temporary restraining order, Xpress Compounding respectfully

requests the Court grant a hearing on this Motion on or before January 20, 2016.

                              II.     FACTUAL BACKGROUND

       1.      Xpress Compounding is a licensed sterile prescription and compounding

pharmacy, founded in 2014. Ex. 1 (App. 001) (Hall Aff., ¶ 2).

       2.      Xpress Compounding provides both conventional and compounded medications

to patients throughout Texas. Id. at ¶ 2.

       3.      Unlike traditional prescription medications, which are mass produced and sold in

pre-formulated quantities, compounded pharmaceuticals are customized to meet a specific

patient’s individual needs when traditional medications are not commercially available or when

customized medications are required. Id. at ¶ 7 (App. 003). Xpress Compounding’s sterile

compounded medications include antibiotics, pain management tools, and hormone treatments,

among others. Id. Xpress Compounding also prepares customized topical pain, scar and wound

care management formulations. Id.




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       4.      Unlike some compounding pharmacies, which struggle to provide quality and

consistency in their products, Xpress Compounding has a record of providing quality, safe

compounded medications to patients and enjoys a positive reputation in the medical community.

Id. at ¶ 8-9 (App. 003-004); Ex. 2 (App. 008-009) (Kretzschmar Aff., ¶ 5-6).

       5.      Xpress Compounding has devoted significant resources into creating a state-of-

the-art compounding facility, with the equipment and trained pharmacy staff needed to formulate

premium compounded pharmaceuticals.            Ex. 1 (App. 003) (Hall Aff., ¶ 6).           Xpress

Compounding’s lab has been certified as compliant with USP Chapter 797 sterility standards and

has also been accredited by the Pharmacy Compounding Accreditation Board, an organization

formed in 2006 to certify the quality of compounding pharmacies in the United States. Id.

       6.      Prime is a pharmacy benefit manager, which operates as an intermediary between

pharmacies and the health insurance plans insuring Xpress Compounding’s customers. Ex. 1

(App. 004) (Hall Aff., ¶ 11).      Prime is primarily responsible for paying pharmacies for

prescription drugs provided to the member beneficiaries of the health plans and health insurance

policies it administers. Id. at ¶ 12 (App. 004-005).

       7.      In March 2014, Xpress Compounding entered into a PBA Health Services

Agreement with Pharmacy Buying Association, Inc. (“TriNet” or “PBA Health”), whereby

Xpress Compounding and TriNet agreed that TriNet would act as agent for Xpress

Compounding in entering into network agreements with pharmacy benefit managers (“PBMs”),

like Prime. Ex. 3 (App. 013) (Paprskar Aff., ¶ 8); Ex. 3-B (App. 035-044) (PBA Agreement).

Xpress Compounding is a member of Prime’s pharmacy network pursuant to a Pharmacy

Participation Agreement between Prime and PBA Heath. Ex. 3 (App. 013) (Paprskar Aff., ¶ 7);

Ex. 3-A (App. 018-034) (PPA Agreement).




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       8.       Under the PBA Agreement, Xpress Compounding explicitly agreed to “comply

with all Terms and Conditions set forth in all Pharmacy Benefit Manager (PBM) Network

Agreements contracted by TriNet on Client’s behalf . . .”, including the PPA Agreement.

Ex. 3-B (App. 042) (TriNet Third Party Network Addendum, at ¶ 1.1).

       9.       On October 22, 2015, Prime sent a letter notifying Xpress Compounding that

Prime was terminating Xpress Compounding from Prime’s pharmacy network, effective

January 29, 2016. Ex. 3 (App. 015-016) (Paprskar Aff., ¶ 17); Ex. 3-K (App. 251) (Oct. 22,

2015 letter).

       10.      In its October 22, 2015 letter, Prime stated that Xpress Compounding had

“recently exhibited poor audit performance evidencing failure to comply with Prime’ [sic] terms

and conditions as outlined in the Pharmacy Participation Agreement and Provider Manual.”

Ex. 3-K (App. 251). Prime did not identify any specific terms or conditions or refer to any

specific audit findings. Id.

       11.      Over the past twelve months, Prime has conducted one site audit on January 28,

2015; issued a series of twenty-one desktop audits; and made one wholesaler inventory request.

Ex. 3 (App. 014-015) (Paprskar Aff., ¶¶ 9, 14, 16).

       12.      After corrections and an appeal, the January 28, 2015 site audit, which reviewed

$41,810.26 in claims submitted between September 2014 and November 30, 2014, resulted in a

recoupment of $4,978.34 or 11.67% of all claims at issue by revenue.          Ex. 3 (App. 014)

(Paprskar Aff., ¶¶ 9-13); Ex. 3-G (App. 166-198) (Prime’s Sept. 3, 2015 appeal response).

       13.      Prime’s twenty-one desktop audits did not result in any adverse finding or

disciplinary action against Xpress Compounding. Ex. 3 (App. 014-015) (Paprskar Aff., ¶ 14);

Ex. 3-H (App. 199-219) (desktop audit summary). Nor did Prime’s wholesaler invoice request.




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Ex. 3 (App. 015) (Paprskar Aff., ¶ 16); Ex.3-J (App. 250) (Prime’s wholesaler inventory

request).

       14.       None of the audits performed prior to Prime’s October 22, 2015 termination

notice indicates an unwillingness to comply with the terms of any contract or other requirement

imposed by Prime upon other pharmacies within its network. Ex. 3 (App. 014-015) (Paprskar

Aff., ¶¶ 10-16); Ex. 3-G (App. 166-198) (Prime’s appeal response); Ex. 3-H (App. 199-219)

(audit summary); Ex. 4 (App. 256-257) (Alexander Aff., ¶ 6).

       15.       On November 9, 2015, Xpress Compounding sent a letter to Prime (1) requesting

an explanation of the basis of Prime’s termination notice; and (2) demanding review by an

advisory review panel under Section 843.306(b) of the Texas Insurance Code.            Ex. 3-L

(App. 252-53).

       16.       Xpress Compounding asserted that termination from Prime’s pharmacy provider

networks without cause violates article 21.52B of the Texas Insurance Code, which prohibits

pharmacy network operators, like Prime, from limiting provider participation in the network by

any pharmacy or pharmacist, who agrees to comply with the standard terms and requirements to

which other participating pharmacies and pharmacists are subject. Id.

       17.       On December 22, 2015, Prime notified Xpress Compounding that it had

considered Xpress Compounding’s termination appeal and that it had decided to uphold the

termination. Ex. 3-M (App. 254). Prime did not identify any specific terms or conditions in its

Pharmacy Participation Agreement or Provider Manual with which Xpress Compounding has

failed to comply. Id.; Ex. 3 (App. 015-016) (Paprskar Aff., ¶¶ 15, 17, 19).

       18.       Prime did not respond in any manner to Xpress Compounding’s assertion that

termination without cause violates article 21.52B of the Texas Insurance Code. Ex. 3 (App. 016)




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(Paprskar Aff., ¶ 19); Ex. 3-M (App. 254) (Dec. 22, 2015 letter). Nor did Prime respond to

Xpress    Compounding’s        demand     for   review   by an   advisory   review   panel   under

Section 843.306(b) of the Texas Insurance Code.           Ex. 3 (App. 016) (Paprskar Aff., ¶ 19);

Ex. 3-M (App. 254) (Dec. 22, 2015 letter).

         19.    On January 5, 2016, Xpress Compounding filed its Verified Original Petition,

Application for Temporary Restraining Order, and Request for Injunctive Relief in Tarrant

County District Court. Doc. No. 1-3. The Tarrant County District Court issued a Temporary

Restraining Order preventing Prime from terminating Xpress Compounding from its network

through January 20, 2016. Doc. No. 1-3 at 15-16. Prime thereafter removed the case to this

Court. See Doc. No. 1. Xpress Compounding now seeks a preliminary injunction pending the

resolution of its claims in this litigation.

         20.    If Prime’s termination is not enjoined, Xpress Compounding’s reputation and

customer goodwill will be irretrievably lost. Xpress Compounding will lose all those existing

customers insured under Prime-affiliated health plans and policies, along with any accumulated

customer goodwill as those patients are notified of the termination and forced to undergo the

confusing, cumbersome and time consuming process of transferring to a new pharmacy. Ex. 1

(App. 005-006) (Hall Aff., ¶¶ 14, 17); Ex. 2 (App. 009) (Kretzschmar Aff., ¶ 7); Ex. 4

(App. 257-258) (Alexander Aff., ¶¶ 10-13); Ex. 5 (App. 261-262) (Howell Aff., ¶¶ 5-10).

         21.    A termination of Xpress Compounding from Prime’s pharmacy provider network

will not only destroy customer relationships with current Prime patients, but will damage Xpress

Compounding’s reputation and make it less likely for some physicians to refer patients—whether

insured through an Prime plan or not—to Xpress Compounding.                 Ex. 2 (App. 009-010)

(Kretzschmar Aff., ¶¶ 7, 11); see also Ex. 1 (App. 005-006) (Hall Aff., ¶¶ 14, 15). This would




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affect not only Xpress Compounding’s compounded-medication business but also its

conventional prescription business. Id.

        22.    Xpress Compounding will also lose an untold number of future patients, including

potential referrals from Prime, existing patients and physicians. Ex. 1 (App. 006) (Hall Aff.,

¶ 16); Ex. 2 (App. 009-010) (Kretzschmar Aff., ¶¶ 7, 11); Ex. 5 (App. 262) (Howell Aff., ¶ 10).

        23.    Termination from Prime’s network will also threaten Xpress Compounding’s

relationship with other PBMs, who inquire about network terminations generally in periodic

credentialing applications to remain a part of other PBM networks.            Ex. 3 (App. 016-017)

(Paprskar Aff., ¶¶ 21-22).

        24.    Moreover, if Prime is not enjoined from terminating Xpress Compounding from

its pharmacy provider network, patient health will be placed at risk as patients may be unable to

obtain needed drugs during the days required to transfer prescriptions from Xpress Compounding

to alternative pharmacies within Prime’s network. Ex. 2 (App. 009-010) (Kretzschmar Aff., ¶ 9);

Ex. 4 (App. 258) (Alexander Aff., ¶ 14); Ex. 5 (App. 261) (Howell Aff., ¶¶ 7-8).

                             III.   ARGUMENT & AUTHORITIES

A.      Injunctive Relief Is Warranted Upon A Showing Of Four Elements.

        In order to prevail on a motion for a preliminary injunction, the movant must establish

that (1) there is a substantial likelihood of success on the merits; (2) there is a substantial threat

of irreparable harm if the injunction is denied; (3) the threatened injury to the movant outweighs

any harm to the non-movant that may result from the injunction; and (4) granting the injunction

will not disserve the public interest. Byrum v. Landreth, 566 F.3d 442, 445 (5th Cir. 2009). The

issuance of a preliminary injunction rests within the sound discretion of the district court.

Humana, Inc. v. Jacobson, 804 F.2d 1390, 1392 (5th Cir. 1986). As set forth below, Xpress




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Compounding has established all four elements justifying a preliminary injunction and

preservation of the status quo during the pendency of this matter.

B.      Xpress Compounding Has Established All Four Elements Justifying A
        Preliminary Injunction.

        1.         There Is A Substantial Likelihood That Xpress Compounding Will
                   Prevail On The Merits Of Its Declaratory Relief Claim.

        While Xpress Compounding must demonstrate that it is likely to prevail on the merits of

its claim, “the likelihood of success need not be one of absolute certainty.” Sebastian v. Tx.

Dep’t of Corrections, 541 F. Supp. 970, 975 (S.D. Tex. 1982). The movant is not required to

prove its case. Lakedreams v. Taylor, 932 F.2d 1103, 1109 n.11 (5th Cir. 1991). Nor is it

“necessary that the [movant’s] right to a final decision, after a trial, be absolutely certain [or]

wholly without doubt.” Sebastian, 541 F. Supp. at 975. A reasonable probability of success is all

that need be shown for preliminary injunctive relief. Incubus Invs. L.L.C. v. City of Garland,

2003 WL 23095680, at *3 (N.D. Tex. Dec. 17, 2003). For the reasons that follow, Xpress

Compounding has presented a reasonable probability of success on its claims.

                   a.    Prime Is Not Entitled To Terminate Xpress Compounding
                         Without Cause Under Article 21.52B Of The Texas Insurance
                         Code.

        Xpress Compounding seeks a declaration that Prime is not entitled to terminate Xpress

Compounding without cause under article 21.52B of the Texas Insurance Code.               Doc 1-3

(Petition) at 6.

        Texas Insurance Code Article 21.52B states as follows:

        A health insurance policy or managed care plan that is delivered, issued for
        delivery, or renewed or for which a contract or other agreement is executed may
        not: . . .

        (2) deny a pharmacy or pharmacist the right to participate as a contract provider
        under the policy or plan if the pharmacy or pharmacist agrees to provide
        pharmaceutical services that meet all terms and requirements and to include the


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       same administrative, financial, and professional conditions that apply to
       pharmacies and pharmacists who have been designated as providers under a
       policy or plan . . . .

TEX. INS. CODE art. 21.52B, § 2(a)(2). As interpreted by the Fifth Circuit, article 21.52B

precludes a PBM, like Prime, from discriminating against pharmacies, who agree to abide by the

same terms, requirements and conditions demanded of other network providers. See Pharmacy

Ass’n v. Prudential Ins. Co. of Am., 907 F. Supp. 1019, 1024 (W.D. Tex. 1995) (“The statute

prohibits a pharmacy network operator, such as Prudential, from limiting provider participation

in the network by any pharmacy or pharmacist who meets the standard terms and requirements

established.”), aff’d in part and rev’d in part, 105 F.3d 1035, 1037 (5th Cir. 1997) (“The effect

of the statute is that any pharmacist willing to abide by the terms of a Prudential network

contract must be admitted to the network”) (emphasis added).

       Xpress Compounding expressly asked Prime to identify what terms, conditions or

requirements, if any, it had failed to comply with in its November 9, 2015 appeal letter. Ex. 3-L

(App. 252-253). Notwithstanding this request, Prime has not and cannot identify any term,

requirement or condition generally applicable to other pharmacies within Prime’s provider

network with which Xpress Compounding has not agreed to comply. See Ex. 3-K (App. 251)

(Oct. 22, 2015 letter); Ex. 3-M (App. 254) (Dec. 22, 2015 letter). Indeed, Xpress Compounding

has expressly agreed to comply with all terms and conditions imposed on network participants in

Prime’s network participation agreement with TriNet. Ex. 3-B (App. 042) (TriNet Third Party

Network Addendum, at ¶ 1.1) (“Client [Xpress Compounding] agrees to comply with all Terms

and Conditions set forth in all Pharmacy Benefit Manager (PBM) Network Agreements

contracted by TriNet on Client’s behalf . . . .”).

       If, consistent with Prime’s failure to identify any substantive basis for excluding Xpress

Compounding from its network, Prime has purported to terminate Xpress Compounding


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“without cause,” such termination is directly contrary with the spirit and letter of article 21.52B.

See TEX. INS. CODE art. 21.52B; Prudential, 907 F. Supp. at 1024 (“The stated ‘purpose’ of

article 21.52B, when enacted, was ‘[t]o prohibit a contractual provision in an insurance policy

which interferes with or limits the participant's ability to choose his own pharmaceutical

provider.’”). Accordingly, Xpress Compounding is justified in seeking a declaration that Prime

is not entitled to terminate Xpress Compounding without cause under article 21.52B of the Texas

Insurance Code.1

                 b.       There Is No Valid Basis For Termination From Prime’s
                          Network For Purposes Of Article 21.52B Of The Texas
                          Insurance Code.

        Despite Prime’s vague reference to so-called “poor audit performance,” there is no valid

cause that would justify Xpress Compounding’s termination from Prime’s network for purposes

of article 21.52B of the Texas Insurance Code.                  Over the past twelve months, Prime has

conducted one site audit on January 28, 2015; issued a series of twenty-one desktop audits; and

made one wholesaler inventory request. Ex. 3 (App. 014-015) (Paprskar Aff., ¶¶ 9, 12, 14).

After corrections and an appeal, the January 28, 2015 site audit, which reviewed $41,810.26 in

claims submitted between September 2014 and November 30, 2014, resulted in a recoupment of

only $4,978.34 or 11.67% of all claims reviewed by revenue. Id. at ¶¶ 10-13 (App. 014);

Ex. 3-G (App. 166-198) (Prime’s Sept. 3, 2015 appeal response). Prime’s twenty-one desktop

audits did not result in any adverse finding or disciplinary action against Xpress Compounding.

Ex. 3 (App. 014-015) (Paprskar Aff., ¶ 14); Ex. 3-H (App. 199-219) (desktop audit summary).



1
  Prudential Ins. Co. of Am., 907 F. Supp. at 1024 (“The language of article 21.52B is clear. The statute prohibits a
pharmacy network operator, such as Prudential, from limiting provider participation in the network by any pharmacy
or pharmacist who meets the standard terms and requirements established.”); cf. Kentucky Assoc. of Health Plans,
Inc. v. Miller, 538 U.S. 329, 332 (2003) (noting that Kentucky’s “Any Willing Provider” statutes “impair [the
HMO’s] ability to limit the number of providers with access to their networks…”).



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Nor did Prime’s wholesaler invoice request. Ex. 3 (App. 015) (Paprskar Aff., ¶ 16); Ex. 3-J

(App. 250) (Prime’s wholesaler inventory request).

        None of the audits performed prior to Prime’s October 22, 2015 termination notice

indicates an unwillingness on the part of Xpress Compounding to comply with the terms of any

contract or other requirement imposed by Prime upon other pharmacies within its network. Ex. 3

(App. 014-015) (Paprskar Aff., ¶¶ 10-16); Ex. 3-G (App. 166-98) (Prime’s appeal response);

Ex. 3-H (App. 199-219) (audit summary); Ex. 4 (App. 256-257) (Alexander Aff., ¶ 6).

        Even Prime’s own Provider Manual does not justify termination based on minor audit

exceptions. The manual provides that audits may result in payment recoveries, claim adjustment,

corrective action plans and/or contract terminations.             Ex. 3-I at 20 (App. 241).         If every

recoupment resulted in termination, as Prime’s conduct suggests, there would be no need for

claim adjustments or corrective action plans. Prime’s correspondence makes no reference to a

potential corrective action plan.        See Ex. 3-K (App. 251) (Oct. 22, 2015 letter); Ex. 3-M

(App. 254) (Dec. 22, 2015 letter).

        The fact that Xpress Compounding’s “audit performance” does not justify termination is

confirmed by the experience of other pharmacies participating in other audits by PBMs.

Pharmacies with comparable or even materially greater audit exceptions have not been

terminated by other well-known PBMs, including CVS/Caremark and Humana.                                 Ex. 4

(App. 256-57) (Alexander Aff., ¶¶ 4, 8, 9).2 Prime’s termination of Xpress Compounding on the

basis of any audit performed preceding its December 22, 2015 termination letter is wholly

unjustified. Id. at ¶ 7 (App. 257).



2
  Xpress Compounding does not currently have access to documentation showing the audit performance of other
pharmacies in Prime’s network, but anticipates seeking discovery establishing that other pharmacies in Prime’s
provider network have received poor audit reviews and more severe exceptions without being terminated.


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       Xpress Compounding has agreed to comply with the terms, requirements and standards

imposed on other Prime pharmacies in the PBA Health Services Agreement. Ex. 3-B (App. 042)

(TriNet Third Party Network Addendum, at ¶ 1.1) (“Client [Xpress Compounding] agrees to

comply with all Terms and Conditions set forth in all Pharmacy Benefit Manager (PBM)

Network Agreements contracted by TriNet on Client’s behalf . . . .”). An agreement to comply is

all that is required under article 21.52B. TEX. INS. CODE art. 21.52B, § 2(a)(2) (stating that a

plan or policy may not “deny a pharmacy or pharmacist the right to participate as a contract

provider under the policy or plan if the pharmacy or pharmacist agrees to provide

pharmaceutical services that meet all terms and requirements and to include the same

administrative, financial, and professional conditions that apply to pharmacies and pharmacists

who have been designated as providers under a policy or plan” (emphasis added)). Prime has not

and cannot claim that any audit exceptions demonstrate a material breach of the PBA or the PPA.

Absent a breach of Xpress Compounding’s “agreement,” there is no basis to exclude Xpress

Compounding under article 21.52B of the Texas Insurance Code.

              c.      Prime Is Required To Provide Xpress Compounding A
                      Written Explanation For The Reasons For Its Termination
                      Under Section 843.306(a) Of The Texas Insurance Code.

       Under Texas Insurance Code Section 843.306(a), a health maintenance organization shall

provide a “provider” with a written explanation of the reasons for termination. TEX. INS. CODE

§ 843.306(a). “Provider” includes, among others, “a pharmacy.”        Id. § 843.002(24)(A)(ii).

Although the statute expressly refers to HMOs, this provision applies equally to PBMs who

administer contracts with pharmacy providers. TEX. ATT’Y GEN. OP. NO. KP-0036 (Aug. 14,

2015) (Exhibit 6) (App. 264); Ex. 1 (App. 004-005) (Hall Aff., ¶¶ 11-12) (Prime, like other

PBMs, contracts with and administers claims on behalf of health insurance plans).




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           On November 9, 2015 Xpress Compounding responded to Prime’s October 22, 2015

termination letter, asking Prime to identify what specific terms and conditions Prime believes

Xpress Compounding violated, and with specific reference to Prime’s audit findings over the

past year, why. Ex. 3-L (App. 252-253) (Nov. 9, 2015 letter). Prime responded to Xpress

Compounding’s November 9, 2015 correspondence with a tersely worded denial letter, dated

December 22, 2015. Ex. 3-M (App. 254). In that letter, Prime offers no explanation of its

decision to terminate Xpress Compounding. Xpress Compounding is entitled under Section

843.306(a) of the Texas Insurance Code to the explanation that is lacking in any of Prime’s

correspondence regarding its imminent January 29, 2016 termination of the pharmacy from its

provider network.

                  d.     Xpress Compounding Is Entitled To Have Prime’s
                         Termination Decision Reviewed By An Advisory Review Panel
                         Under Section 843.306(b) Of The Texas Insurance Code.

           Texas Insurance Code Section 843.306(b) states that within 60 days of the provider’s

request and before the termination is effective, the provider is entitled to a review of the

proposed termination by an “advisory review panel,” which panel must be composed of

“physicians and providers who are appointed to serve on the standing quality assurance

committee or utilization review committee” and must include at least one pharmacy or

pharmacist. Id. § 843.002(24)(A)(ii). This provision also applies equally to PMBs. TEX. ATT’Y

GEN. OP. NO. KP-0036 (Aug. 14, 2015) (Exhibit 6) (App. 264).

           In response to Prime’s termination notice, Xpress Compounding demanded a review by

an advisory review panel pursuant to Section 843.306(b). Ex. 3-L (App. 252-253) (Nov. 9, 2015

letter).     Despite Xpress Compounding’s request, Prime has not responded to Xpress

Compounding’s request for review of its decision by an advisory review panel. Ex. 3 (App. 016)

(Paprskar Aff., ¶ 19); Ex. 3-M (App. 254) (Prime’s Dec. 22, 2015 letter).       Nor has Prime


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otherwise demonstrated that its termination decision has been reviewed by a quality assurance

committee or a utilization review committee under the statute.                          Accordingly, Xpress

Compounding is entitled to review of Prime’s termination decision by a statutory “advisory

review panel” before the effective date of the termination. TEX. INS. CODE § 843.306(b). Xpress

Compounding’s request for injunctive relief enjoining Prime’s imminent termination is justified

on this basis alone.

        2.       Unless Enjoined, Prime’s Wrongful Termination Will Result In
                 Immediate, Irreparable Injury To Xpress Compounding And Its
                 Patients.

        “To show irreparable injury if threatened action is not enjoined, it is not necessary to

demonstrate that harm is inevitable and irreparable. The plaintiff need show only a significant

threat of injury from the impending action, that the injury is imminent, and that money damages

would not fully repair the harm.” Humana, 804 F.2d at 1394. Reputational harm and bodily

harm are two examples of injuries for which monetary compensation is generally insufficient,

justifying injunctive relief.3 Here, Prime’s termination of Xpress Compounding will result in

both loss of reputation and customer goodwill and increase the risk of patient harm.

                 a.       Termination Will Cause A Loss Of Business, Reputation And
                          Customer Goodwill For Existing And Future Patients.

        In the compounding pharmacy business, a company’s reputation for safe, quality

compounded drugs among patients and physicians is vitally important to the success of the

enterprise.     Ex. 1 (App. 003-004) (Hall Aff., ¶ 8).              In one recent, high-profile case, a

compounding pharmacy, the New England Compounding Center (“NECC”), was linked to a

fungal meningitis outbreak resulting in the deaths of more than fifty (50) patients and injuries to

3
 See, e.g., Austin Bd. of Realtors v. E-Realty, Inc., 2000 WL 34239114, at *5 (W.D. Tex. Mar. 30, 2000) (potential
harm to a company’s reputation constitutes irreparable harm); Planned Parenthood of Cent. Tex. v. Sanchez, 280 F.
Supp. 2d 590, 610 (W.D. Tex. 2003) (the potential harm to patients resulting from the disruption of healthcare
constitutes irreparable harm).



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more than seven hundred (700) individuals.4 In the wake of the NECC debacle, compounding

pharmacies have been subject to intense media and regulatory scrutiny. 5 In the atmosphere of

public skepticism created by these events, legitimate compounding pharmacies must rely on

reputation and consumer goodwill to continue operations.

        If Prime is not prevented from making its termination effective January 29, 2016, the

termination will destroy Xpress Compounding’s reputation and existing patient relationships.

Ex. 1 (App. 005-006) (Hall Aff., ¶ 15) (“[U]nless enjoined, Prime’s termination of Xpress

Compounding will result in the loss of Xpress Compounding’s customer relationships for all

patients insured under health plans administered by Prime.”). Xpress Compounding will not

only lose customer revenue—it will lose customer trust and loyalty as patients and physicians

inevitably question the basis for Prime’s termination, however unjustified. Ex. 1 (App. 006)

(Hall Aff., ¶ 17) (“If patients are given notice of Prime’s decision to terminate Xpress

Compounding from its pharmacy provider network, Xpress Compounding’s reputation as a safe

and reliable provider of quality pharmaceuticals will be significantly impaired. Patients and

physicians will inevitably question the basis for Prime’s decision to terminate.”); Ex. 2

(App. 010) (Kretzschmar Aff., ¶ 11) (“[B]ased on my experience as a practitioner, termination of

a pharmacy by a large pharmacy benefit manager like Prime raises questions about the cause for

the termination and potential implications for the quality of its products.                       Without more

information regarding the nature of the termination in this instance, Prime’s removal of Xpress

4
  See, e.g., In re Compounding Pharmacy, Inc. Prod. Liab. Litig., 496 B.R. 256, 260 (D. Mass. 2013); Kurt
Eichenwald, The Killer Pharmacy: Inside a Medical Mass Murder Case, NEWSWEEK (Apr. 16, 2015),
http://www.newsweek.com/2015/04/24/inside-one-most-murderous-corporate-crimes-us-history-322665.html.
5
  See, e.g., Maggie Fox, Don’t Use Dallas Compounding Pharmacy Products, FDA Warns, NBC NEWS (Aug. 16,
2013), http://www.nbcnews.com/health/dont-use-dallas-compounding-pharmacy-products-fda-warns-6C10937607;
David Ott, Balancing the DOD’s Compounding Equation, THE HILL (Apr. 1, 2015),
http://thehill.com/blogs/congress-blog/healthcare/237540-balancing-the-dods-compounding-equation. (“While the
vast majority of the industry is made up of pharmacists who simply want to get paid a fair price to make medications
that help patients, a minority of bad actors have given compounding a bad name . . . .”).



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Compounding from its pharmacy provider network raises a red flag for physicians and patients,

making both less likely to use its products going forward.”).

       Xpress Compounding will also lose existing relationships with patients insured by non-

Prime plans to the extent that referring physicians will be unlikely to distinguish between

pharmacies among patients, preferring instead to refer all patients, regardless of plan or PBM, to

a single compounding pharmacy. Ex. 2 (App. 009) (Kretzschmar Aff., ¶ 7) (“Because I am often

unaware which pharmacy benefit managers, like Prime, service individual patient’s health plans,

in the event of a termination, I would be unable to refer any existing patients to Xpress

Compounding going forward, whether or not those patients were members of a health plan

affiliated with Prime.”); see also generally Ex. 1 (App. 005) (Hall Aff., ¶ 14) (“Due to a practical

inability to differentiate between patients insured under Optum-affiliated plans or other health

plans, at least one referring physician has indicated that he will no longer be able to refer patients

to Mission Pharmacy after Optum’s termination, regardless of the benefit plan or affiliated PBM

insuring such patients.”).

       Prime patients, who are unable to continue using Xpress Compounding after termination

becomes effective on January 29, 2016, are likely to experience confusion, frustration and other

negative emotions if they are compelled to undergo the burden, inconvenience and potential

delays inherent in transitioning to another pharmacy. Ex. 5 (App. 261) (Howell Aff., ¶¶ 5-6)

(When a PBM terminates a pharmacy, the customers “express[] great distress, anxiety and

frustration” and “do not understand why they are no longer able to use [the terminated

pharmacy] as their preferred pharmacy, particularly when they have valid health insurance

coverage.”); Ex. 1 (App. 006) (Hall Aff., ¶ 17) (“Just as patients responded to Mission

Pharmacy’s termination by Optum with emotions ranging from anger to grief, patients are likely




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to express similar negative feelings when confronted with the necessity of transferring

prescriptions to a different pharmacy.”); Ex. 2 (App. 010) (Kretzschmar Aff., ¶ 10) (“When I

have overseen the transfer of prescriptions from one pharmacy to another in the past, patients

have expressed confusion and frustration to my staff, sometimes directed at the outgoing

pharmacy, if they are not able to obtain essential medications and have to undergo the

administrative burden of transitioning to a new pharmacy.”). These negative experiences will

destroy any accumulated goodwill the pharmacy now enjoys with its existing Prime customers.

Id.

         Moreover, as patients and physicians have these undesirable experiences, Xpress

Compounding will inevitably lose an unknown number of future customers. Ex. 1 (App. 006)

(Hall Aff., ¶ 16) (With Prime’s termination, Xpress Compounding “will also lose the opportunity

to receive new referrals for future patients, whether from now current Prime patients or

physicians, with whom Xpress Compounding might otherwise have done business and developed

customer goodwill”); Ex. 2 (App. 009) (Kretzschmar Aff., ¶ 7) (“Because I am often unaware

which pharmacy benefit managers, like Prime, service individual patient’s health plans, in the

event of a termination, I would be unable to refer any existing patients to Xpress Compounding

going forward, whether or not those patients were members of a health plan affiliated with

Prime. Nor would I be able to refer future patients to Xpress Compounding for prescription

medications.”); Ex. 5 (App. 262) (Howell Aff., ¶ 10) (Mission pharmacy “undoubtedly lost

referrals and potential future customers because of the termination from Optum’s network.”);

Ex. 4 (App. 258) (Alexander Aff., ¶ 13) (“[A] negative experience with Xpress Compounding by

one customer may be communicated to others, resulting in a loss of relationships with both

existing patients and future referrals.”). Termination would also harm Xpress Compounding’s




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reputation and relationship with other PBMs, who inquire about network terminations in

deciding whether to admit or renew (i.e., credential or recredential) individual pharmacies as

participants in other PBM networks. Ex. 3 (App. 016) (Paprskar Aff., ¶ 21).

        The threat to Xpress Compounding’s business and customer relationships is not merely

theoretical.    Other pharmacies who have been terminated from a network have reported a

significant loss of business as existing customers transfer prescriptions to alternative suppliers.

Ex. 1 (App. 005) (Hall Aff., ¶ 14); Ex. 5 (App. 262) (Howell Aff., ¶ 10). The imminent loss of

reputation and customer goodwill if Prime’s termination is permitted to take effect on

January 29, 2016 justifies an injunction. See e.g., Humana, Inc., 804 F.2d at 1392 (affirming

hospital’s injunction granted to avoid a significant loss of business, including a situation whereby

“many physicians who direct their patients to Humana [would] treat their patients at other

hospitals”). Indeed, other courts have granted injunctive relief to pharmacies facing termination

from a network.         Dr. Mark Lynn & Assocs. PLLC v. Vision Serv. Plan Ins. Co., 2005

WL 2739160, at *2 (W.D. Ky. Oct. 21, 2005) (granting injunctive relief to optometrist which

sued under Kentucky’s Any Willing Provider Statute because, among other reasons, “[the

optometrist] would probably lose a majority of its patients. It will be difficult, if not impossible,

to calculate his monetary damages.”).6




6
 See also Paduano v. Express Scripts Inc., Case No. 2:14-cv-05376-ADS-ARL (E.D.N.Y. Oct. 3, 2014) (Exhibit 7)
(App. 269) (temporarily restraining PBMs from prohibiting a pharmacy from delivering prescriptions by USPS or
other delivery service); J.C. Penney Co. v. Giant Eagle, Inc., 813 F. Supp. 360, 370 (W.D. Pa. 1992) (granting
pharmacy injunction against competitor on the basis of irreparable harm; customers who filled prescriptions at
competitor was “not a complete picture of the damages” that pharmacy incurred and there was no way to measure
what new customers might go elsewhere to have their prescriptions filled); United Healthcare Ins. Co. v.
AdvancePCS, 2002 WL 432068, at *8 (D. Minn. Mar. 18, 2002) (AARP established threat of irreparable harm
entitling it to preliminary injunction against pharmacy benefits manager by establishing loss of goodwill among its
members who filled prescriptions); PharMerica Corp. v. Mary Jo McElyea & Absolute Pharm., Inc., 2014 WL
1876271, at *4-5 (N.D. Ohio May 9, 2014) (pharmacy’s injunction against former salesperson granted because her
confidential knowledge could severely damage pharmacy’s business).



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               b.     Termination Will Result In Risk To Patient Health.

       By definition, if Xpress Compounding is terminated from Prime’s provider network,

patients receiving health benefits through a Prime-affiliated plan or policy will no longer be able

to receive reimbursement or other payments for compounded pharmaceuticals from Xpress

Compounding. Ex. 1 (App. 004-005) (Hall Aff., ¶ 12); Ex. 2 (App. 009) (Kretzschmar Aff., ¶ 7).

For patients who use compounded medication, access to safe and effective compounded drugs is

essential. Ex. 2 (App. 009) (Kretzschmar Aff., ¶ 7). Xpress Compounding enjoys a reputation as

a reliable supplier of safe and effective prescriptions to patients. Id. ¶ 6 (App. 008-009). If

Xpress Compounding were terminated from Prime’s network, Xpress Compounding’s patients

would be required to find suitable pharmaceutical alternatives, which may take days or even

weeks. Id. at ¶¶ 8-9 (App. 009-010) (“the process of identifying an appropriate replacement

pharmacy can take days and in some cases weeks”); Ex. 5 (App. 261-262) (Howell Aff., ¶¶ 7, 9)

(“Time is needed to identify a suitable alternative pharmacy. . . . Additional time is needed for

doctors’ prescriptions to be transferred and filled once the new pharmacy has been identified. In

some cases, patients will have to go for days without needed medications while this process runs

its course.”); Ex. 1 (App. 005) (Hall Aff., ¶ 14); Ex. 4 (App. 258) (Alexander Aff., ¶ 14). If

patients are not able to take appropriate prescription medications regularly, “some patients may

experience increased pain, infection, scarring, extended recovery periods and other adverse side

effects.” Ex. 2 (App. 009-010) (Kretzschmar Aff., ¶ 9); Ex. 4 (App. 258) (Alexander Aff., ¶ 14)

(When transferring prescriptions, “if the customer is deprived of needed medication, patients

may suffer negative consequences ranging from inconvenience to potentially serious health

complications, including severe pain and infection . . . .”); Ex. 5 (App. 262) (Howell Aff., ¶ 9)

(“When patients are unable to take their medications [due to transfer], serious health

complications can arise.”).


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         Termination and the accompanying risks to patient health and loss of patient/customer

relationships is imminent.            Absent a preliminary injunction, Prime has notified Xpress

Compounding that termination will take effect on January 29, 2016.                             Ex. 3-K (App. 251)

(October 22, 2015 letter). The impending termination of Xpress Compounding from Prime’s

provider network, and the ensuing loss of business and risks to patient health qualify as imminent

and irreparable injury warranting injunctive relief.7

         3.       Prime Will Sustain No Harm From The Preliminary Injunction
                  Sought Herein, Much Less Any Harm That Outweighs The
                  Immediate, Irreparable Harm To Xpress Compounding Absent An
                  Injunction.

         As outlined in detail above, Prime is not entitled to terminate Xpress Compounding under

article 21.52B of the Texas Insurance Code. See supra Part (B)(1)(a)-(b). It is axiomatic that

Prime can sustain no harm from its compliance with the Texas Insurance Code. The injunction

requested herein, which enjoins Prime from taking action to exclude Xpress Compounding from

its pharmacy provider network, will consequently result in no harm to Prime—much less any

harm that outweighs the substantial, imminent and irreparable harm that will befall Xpress

Compounding without an injunction.8 By comparison, the harm that will accrue to Xpress

Compounding without an injunction is substantial, imminent and irreparable.                               See supra


7
  See, e.g., Planned Parenthood Ass’n of Hidalgo Cnty. v. Suehs, 828 F. Supp. 2d 872 (W.D. Tex. 2012) (finding a
substantial threat of irreparable injury from a significant loss of funding likely to result in layoffs and closure of
clinics); Planned Parenthood of Central Texas v. Sanchez, 280 F. Supp. 2d 590, 610-611 (W.D. Tex. 2003)
(preliminary injunction warranted in light of (1) the potential loss of funding that would result in closure of clinics;
and (2) the potential patient risk for women unable to seek women’s healthcare services); see also Tex. Health Care
Ass’n v. Bowen, 710 F. Supp. 1109, 1114-1115 (W.D. Tex. 1989) (harm to nursing home businesses, including loss
of long-term patient relationships, resulting from a lack of mental illness screening criteria constituted an immediate,
irreparable injury); Thomas v. Johnston, 557 F. Supp. 879, 917 (W.D. Tex. 1983) (acknowledging irreparable harm
where patients “face a substantial threat of receiving inadequate care in their ICF-MR facilities and of being
discharged from those facilities”); Austin Bd. of Realtors v. E-Realty, Inc., 2000 WL 34239114, at *5 (W.D.
Tex. Mar. 30, 2000) (potential harm to a company’s business from loss of MLS access constitutes irreparable harm).
8
 See, e.g., WB Music Corp. v. Big Daddy’s Entm’t, Inc., 2005 WL 2662553, at *3 (W.D. Tex. Oct. 18, 2005) (a
music venue infringing on the plaintiff’s copyrights would not be harmed by an injunction against infringing
because it is not a burden to be required to follow the law).



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Part (B)(2). Because Prime will sustain no harm whatsoever from the injunction requested

herein, much less any harm that outweighs the injuries sustained by Xpress Compounding,

injunctive relief is appropriate.9

        4.       Enjoining Prime From Terminating Xpress Compounding Will Not
                 Undermine The Public Interest.

        No public interest is served by allowing Prime to terminate Xpress Compounding from

its provider network. Indeed, to the extent that (1) statutes passed by the Legislature reflect the

public interest; and (2) the public has an interest in enforcing Texas law, the public has an

interest in allowing patients broad access to the pharmacies of their choice.10 Because, for the

reasons explained above, Prime’s termination violates the Texas Insurance Code, an injunction

enjoining termination of Xpress Compounding from Prime’s pharmacy provider network during

the pendency of this action serves the public interest.11

        Likewise, to the extent that an injunction preserves the status quo in numerous patient

relationships with Xpress Compounding and ensures continuity of care and access to quality

compounded medications,12 the public interest is served, not disserved, by the relief sought in

this application.13

9
 See, e.g., Dallas Cnty. v. Bureau of Justice Assistance, 988 F. Supp. 1030, 1031 (W.D. Tex. 1996) (finding that the
Bureau of Justice Assistance, which had been improperly administering the Local Law Enforcement Block Grant
Program, could not be harmed by an injunction that enjoined it from improperly carrying out an act of Congress).
10
   TEX. INS. CODE art. 21.52B, § 2(a)(2) (prohibiting health insurance policies and managed care plans from
excluding pharmacies that agree “to provide pharmaceutical services that meet all terms and requirements and to
include the same administrative, financial, and professional conditions that apply to pharmacies and pharmacists
who have been designated as providers under the policy or plan”).
11
   See, e.g., Daniels Health Sciences v. Vascular Health, 710 F.3d 579, 585 (5th Cir. 2013) (finding no abuse of
discretion by trial court in granting injunction on the basis that, in part, “the public is served when the law is
followed.”); Tex. Democratic Party v. Benkiser, 459 F.3d 582, 595 (5th Cir. 2006) (“It is beyond dispute that the
injunction serves the public interest in that it enforces the correct and constitutional application of Texas’s duly-
enacted election laws.”); cf. Union Planters Bank, N.A. v. Gavel, 2003 WL 1193671, at * 8 (E.D. La. Mar. 12, 2003)
(“[T]he injunction in no way would disserve the public interest as the injunction would merely uphold and enforce a
federal statute.”).
12
  Ex. 1 (App. 005-006) (Hall Aff., ¶ 15) (“Prime’s termination of Xpress Compounding will result in the loss of
Xpress Compounding’s customer relationships for all patients insured under health plans administered by Prime.
Xpress Compounding will also lose existing relationships with patients insured by non-Prime plans to the extent that


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                                              IV.      PRAYER

        WHEREFORE, Plaintiff Hall’s IV and Institutional Pharmacy, Inc. d/b/a Xpress

Compounding respectfully requests that this Court (1) grant the foregoing Motion; (2) enter a

preliminary injunction restraining and enjoining Prime, and its agents, servants, employees,

representatives and all persons or entities acting in concert with them from:

        (a)      Taking any action whatsoever to terminate or remove Xpress
                 Compounding from any Prime pharmacy provider network;

        (b)      Notifying Prime’s members or prospective members of any termination or
                 removal of Xpress Compounding from any Prime pharmacy provider
                 network;

        (c)      Without altering the payment requirements or claims process provided for
                 under the Agreement between the parties or under any statute or rule,
                 refusing to process or pay claims for payment submitted by Xpress
                 Compounding based on the assertion that Xpress Compounding is no
                 longer a member of the Prime pharmacy provider network;

and (3) grant Xpress Compounding any and all additional relief to which it may be justly

entitled.




referring physicians will be unlikely to distinguish between pharmacies among patients . . . .”); Ex. 2 (App. 009)
(Kretzschmar Aff., ¶ 7) (“If termination of Xpress Compounding is permitted to go forward . . . I would be unable
to refer any existing patients to Xpress Compounding going forward, whether or not those patients were members of
a health plan affiliated with Prime.”).
13
   Teladoc, Inc. v. Tex. Med. Bd., 2015 WL 4103658, at *12 (W.D. Tex. May 29, 2015) (finding that the fourth
factor of the injunction analysis weighed in favor of granting an injunction because the disruption of Teladoc’s
services would result in patients facing higher prices for medical care and reduced access to medical care).



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                                              Respectfully submitted,


                                              /s/ Micah E. Skidmore ______________________
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                                              ATTORNEYS FOR PLAINTIFF HALL’S IV
                                              AND INSTITUTIONAL PHARMACY, INC.,
                                              D/B/A XPRESS COMPOUNDING


                             CERTIFICATE OF CONFERENCE

      I hereby certify that on the 12th day of January, 2016, I conferred with counsel for Prime
Therapeutics, LLC regarding the relief sought in the foregoing motion. Counsel for Prime
Therapeutics is opposed to the relief sought in this motion.

        I also conferred with counsel for Defendant regarding his availability for a hearing on this
motion on January 19th or January 20th. Plaintiff is available to proceed with this motion on
those dates. Defendant did not agree to a hearing on the motion on those dates. The parties will
continue to confer and provide the Court with additional dates on which this motion could be
heard in a supplemental Certificate of Conference.



                                              /s/ Micah E. Skidmore
                                              Micah E. Skidmore




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of January, 2016, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the following:

       Blake A. Bailey
       Christopher R. Jones
       PHELPS DUNBAR, LLP
       115 Grand Avenue, Suite 222
       Southlake, Texas 76092

                                              /s/ Natalie DuBose
                                              Natalie DuBose


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